Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                               CASE NO.: 1:24-CV-21300-JB-EGT

 TESLA, INC.,

        Plaintiff,
 v.

 THE INDIVIDUALS, PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A,”

        Defendants.
                                                      /

               PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF
         TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION,
              AND ORDER RESTRAINING TRANSFER OF ASSETS

        Plaintiff, Tesla, Inc. (“Tesla”), by undersigned counsel and pursuant to 15 U.S.C. § 1116,

 17 U.S.C. § 502, Fed. R. Civ. P. 65, and The All Writs Act, 28 U.S.C § 1651(a), respectfully moves

 on an ex parte basis for entry of a temporary restraining order, an order restraining transfer of

 assets, and upon expiration of the temporary restraining order, a preliminary injunction against

 Defendants, the Individuals, Partnerships, and Unincorporated Associations identified on Schedule

 “A” to the Complaint (collectively, the “Defendants”). In support thereof, Plaintiff respectfully

 refers the Court to the following Memorandum of Law.

                                   MEMORANDUM OF LAW

 I.     INTRODUCTION

        Defendants are knowingly and intentionally promoting, advertising, distributing, offering

 for sale, and selling goods bearing and/or using counterfeits and confusingly similar imitations of

 one or more of Plaintiff’s trademarks at issue within this district and throughout the United States
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 2 of 20




 by operating e-commerce stores established via third-party marketplace websites and/or

 commercial Internet websites operating under their seller identification names and website

 domains identified on Schedule “A” to the Complaint (the “Seller IDs”). Specifically, Plaintiff

 has obtained evidence clearly demonstrating the following: (1) Defendants are engaged in the

 advertising, offering for sale, and sale of counterfeit and infringing versions of Plaintiff’s branded

 goods; and (2) Defendants accomplish their sales of counterfeit and infringing goods via the

 Internet through the use of, at least, the Defendants’ domain registrations and/or e-commerce stores

 operated via the Internet marketplace websites. Based on this evidence, Plaintiff’s Complaint

 alleges claims for false designation of origin, common law unfair competition, and common law

 trademark infringement.

        Defendants’ unlawful activities have deprived and continue to deprive Plaintiff of its right

 to determine the manner in which its trademarks are presented to the public. Indeed, Defendants

 have and continue to wrongfully trade and capitalize on Plaintiff’s reputation and goodwill and the

 commercial value of Plaintiff’s trademarks. By their activities, Defendants are defrauding Plaintiff

 and the consuming public for their own benefit. Defendants should not be permitted to continue

 their unlawful activities, which are causing Plaintiff ongoing irreparable harm. Accordingly,

 Plaintiff is seeking entry of a temporary restraining order prohibiting Defendants’ further wrongful

 use of Plaintiff’s trademarks.

        Moreover, Defendants use money transfer and/or retention/processing services with

 PayPal, Inc. (“PayPal”), or have their payments processed on their behalf using an aggregate

 escrow account as a method to receive monies generated through the sale of counterfeit and




                                                   2
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 3 of 20




 infringing goods.1 See accompanying Declaration of Javier Sobrado in Support of Plaintiff’s Ex

 Parte Motion for Entry of Temporary Restraining Order, Preliminary Injunction, and Order

 Restraining Transfer of Assets (“Sobrado Decl.”) at ¶ 3.

        In light of the inherently deceptive nature of the counterfeiting business, Plaintiff has good

 reason to believe Defendants will hide or transfer their ill-gotten assets beyond the jurisdiction of

 this Court unless they are restrained. The Lanham Act allows Plaintiff to recover the illegal profits

 gained through Defendants’ distribution and sales of counterfeit and infringing goods. See 15

 U.S.C. § 1117(a). To preserve that disgorgement remedy, Plaintiff seeks an ex parte order

 restraining Defendants’ assets including specifically funds transmitted through all possible online

 marketplace payment providers, including but not limited to Alipay, Ebay, Wish.com, PayPal,

 DHgate.com, and Amazon platforms (collectively, the “Financial Entities”).

 II.    FACTUAL BACKGROUND

        A.      Plaintiff’s Intellectual Property Rights

        Plaintiff is the owner of the federally registered trademarks identified in Schedule B (the

 “Tesla Marks”) attached to the Declaration of Lou Dorny (“Dorny Decl.”), filed herewith. The

 Tesla Marks are used in connection with the design, marketing, and distribution of various high-

 quality goods and merchandise relating to electric vehicles, vehicle accessories, stationary battery

 energy storage devices, solar panels, solar shingles, and related products and services. See Dorny

 Decl. at ¶ 7. The Tesla Marks are a symbol of Plaintiff’s quality, reputation, and goodwill and the

 Tesla Marks have never been abandoned. Id. at ¶¶ 5-10. Moreover, Plaintiff have expended




        1
           These escrow accounts are held in the name of various financial institutions, including
 but not limited to AliExpress, Alipay, Dhgate, Dhpay, Joom, Wish, Wishpay, Amazon, Amazon
 Pay, Ebay, Etsy, and/or Taobao. Sobrado Decl. at ¶ 3.
                                                  3
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 4 of 20




 substantial time, money, and other resources developing, advertising, and otherwise promoting its

 trademark. Id. at ¶¶ 6-7.

        Plaintiff has extensively used, advertised, and promoted the Tesla Marks in the United

 States, and has carefully monitored and policed the use of the Tesla Marks. Dorny Decl. ¶¶ 6-10.

 As a result of Plaintiff’s efforts, the Tesla Marks have acquired fame in the consumer market. Id.

 The Tesla Marks are a widely recognized trademark in the United States, and the trademark has

 achieved secondary meaning. Id. The Tesla Marks have come to symbolize the enormous

 goodwill of Plaintiff’s products throughout the United States. Id.

        B.      Defendants Wrongfully Use Plaintiff’s Trademarks.

        Defendants do not have, nor have they ever had, the right or authority to use the Tesla

 Marks for any purpose. See Dorny Decl. at ¶ 11. Despite their known lack of authority to do so,

 Defendants are promoting and otherwise advertising, distributing, selling and/or offering for sale,

 through their respective Seller IDs, goods using counterfeit and infringing trademarks without

 authorization (“Defendants’ Goods”). Id.; see also Sobrado Decl. at ¶ 4 (attaching relevant web

 page captures from Defendants’ Internet based e-commerce stores operating under the Seller IDs).

        Given Defendants’ blatant copying of the Tesla Marks, Defendants’ Goods are

 indistinguishable to consumers, both at the point of sale and post-sale. By using the Tesla Marks,

 Defendants have created a false association between their counterfeit and infringing goods and e-

 commerce stores and websites, and Plaintiff. Such false association is in violation of 15 U.S.C. §

 1125(a) and is causing and will continue to cause Plaintiff irreparable harm and damage.

        As part of its ongoing investigation regarding the sale of counterfeit and infringing

 products, Plaintiff accessed Defendants’ Internet based e-commerce stores operating under each

 of the Seller IDs, initiated orders from each Seller IDs for the purchase of various products, all



                                                 4
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 5 of 20




 bearing, or suspected of bearing, counterfeits of the Tesla Marks, and requested each product to

 be shipped to an address in the Southern District of Florida. See Dorny Decl. at ¶ 13 and Exhibit

 1; Sobrado Decl. at ¶ 5.

          Plaintiff, who is able to identify distinctions between Plaintiff’s genuine and authorized

 merchandise and counterfeit copies of the same, reviewed and visually inspected the items offered

 for sale via each of the Seller IDs by reviewing the e-commerce stores operating under each of the

 Seller IDs, or the detailed web page captures and images of the items bearing the Tesla Marks, and

 determined the products were not genuine versions of Plaintiff’s products. See Dorny Decl. at ¶¶

 11-14.

          A comparison of the Tesla Marks to the marks and images used by Defendants in

 connection with the promotion and sale of Defendants’ Goods reveals the counterfeit and

 infringing nature of Defendants’ Goods. See Plaintiff’s Tesla Marks compared with Defendants’

 Goods (Sobrado Decl. at ¶ 4, Dorny Decl. at Exhibit 1). Defendants’ Goods are being promoted,

 advertised, offered for sale, and sold by Defendants within this district and throughout the United

 States. Sobrado Decl. at ¶ 5. Defendants are making substantial sums of money by preying upon

 members of the general public, many of whom have no knowledge Defendants are defrauding

 them. Defendants are also falsely representing to consumers that their counterfeit and infringing

 branded goods are genuine, authentic, endorsed, and authorized by Plaintiff.           Ultimately,

 Defendants’ Internet activities infringe on Plaintiff’s rights. The Seller IDs and associated

 payment accounts are a substantial part of the means by which Defendants further their scheme

 and cause harm to Plaintiff. Sobrado Decl. at ¶ 6.




                                                  5
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 6 of 20




 III.   ARGUMENT

        A.      An Ex Parte Temporary Restraining Order is Essential to Prevent Immediate
                Injury.

        Rule 65(b) of the Federal Rules of Civil Procedure provides, in part, that a temporary

 restraining order may be granted without written or oral notice to the opposing party or that party’s

 counsel where it clearly appears from the specific facts shown by affidavit “that immediate and

 irreparable injury, loss, or damage will result to the movant before the adverse party can be heard

 in opposition.” Fed. R. Civ. P. 65(b). This is such a case.

        Defendants herein fraudulently promote, advertise, sell, and offer for sale goods bearing

 and/or using counterfeits and infringements of the Tesla Marks via their e-commerce stores and

 websites using at least the Seller IDs. Specifically, Defendants are wrongfully using counterfeits

 and infringements of the Tesla Marks to increase consumer traffic to their illegal operations. By

 their actions, Defendants are creating a false association in the minds of consumers between

 Defendants and Plaintiff. The entry of a temporary restraining order would serve to immediately

 stop Defendants from benefiting from their wrongful use of the Tesla Marks and preserve the status

 quo until such time as a hearing can be held. See Dell Inc. v. BelgiumDomains, LLC, Case No.

 07-22674, 2007 WL 6862341, at *2 (S.D. Fla. Nov. 21, 2007) (finding ex parte relief more

 compelling where Defendants’ scheme “is in electronic form and subject to quick, easy,

 untraceable destruction by Defendants.”)

        Absent a temporary restraining order without notice, Defendants can and will significantly

 alter the status quo before the Court can determine the parties’ respective rights. In particular, the

 e-commerce stores at issue are under Defendants’ complete control. Thus, Defendants have the

 ability to change the ownership or modify e-commerce store data and content, change payment

 accounts, redirect consumer traffic to other seller identification names, and transfer assets and

                                                   6
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 7 of 20




 ownership rights to the Seller IDs. See Sobrado Decl. at ¶ 7. Such modifications can happen in a

 short span of time after Defendants are provided with notice of this action. Id. Thus, Defendants

 can easily electronically transfer and conceal the funds sought to be restrained if they obtain

 advance notice of Plaintiff’s Motion for Temporary Restraining Order and thereby thwart the

 Court’s ability to grant meaningful relief and eviscerate the status quo. Id. As Defendants engage

 in illegal trademark counterfeiting and infringing activities, Plaintiff have no reason to believe

 Defendants will make their assets available for recovery pursuant to an accounting of profits or

 will adhere to the authority of this Court any more than they have adhered to federal trademark

 laws.

         Moreover, federal courts have long recognized that civil actions against counterfeiters –

 whose very businesses are built around the deliberate misappropriation of rights and property

 belonging to others – present special challenges that justify proceeding on an ex parte basis. See,

 e.g., Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996) (observing

 that “proceedings against those who deliberately traffic in infringing merchandise are often useless

 if notice is given to the infringers”). Accordingly, this Court should prevent an injustice from

 occurring by issuing an ex parte temporary restraining order which precludes Defendants from

 continuing to display their infringing content via the e-commerce stores and websites or modifying

 or deleting any related content or data. Only such an order will prevent ongoing irreparable harm

 and maintain the status quo.

         B.     Temporary Restraining Order and Preliminary Injunction Standard

         In this Circuit, the standard for obtaining a temporary restraining order and the standard

 for obtaining a preliminary injunction are the same. See Emerging Vision, Inc. v. Glachman, Case

 No. 10-cv-80734, 2010 WL 3293346, at *3 (S.D. Fla. June 29, 2010) (citing Schiavo ex rel.



                                                  7
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 8 of 20




 Schindler v. Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005); Siegel v. LePore, 120 F. Supp. 2d

 1041 (S.D. Fla. 2000) aff’d 234 F.3d 1163 (11th Cir. 2000)). In order to obtain a temporary

 restraining order or a preliminary injunction, a party must establish “(1) a substantial likelihood of

 success on the merits; (2) that irreparable injury will be suffered if the relief is not granted; (3) that

 the threatened injury outweighs the harm the relief would inflict on the non-movant; and (4) that

 entry of the relief would serve the public interest. Schiavo, 403 F.3d at 1225-26; see also Levi

 Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995) (affirming entry of

 preliminary injunction and freezing of assets). Plaintiff’s evidence establishes all the foregoing

 and relevant factors.

         C.      Likelihood of Success on the Merits

                 1.      Plaintiff’s counterfeit and trademark infringement claim under Section
                         32 of the Lanham Act (Count I of the Complaint)

         Section 32 of the Lanham Act provides liability for trademark infringement if, without the

 consent of the registrant, a defendant uses “in commerce any reproduction, counterfeit, copy, or

 colorable imitation of a registered mark in connection with the sale, offering for sale, distribution,

 or advertising of any goods or services on or in connection with which such use is likely to cause

 confusion, or to cause mistake, or to deceive.” 15 U.S.C. § 1114(1)(a). “Thus, to prevail, a

 plaintiff must demonstrate (1) that its mark has priority and (2) that the defendant’s mark is likely

 to cause consumer confusion.” Chanel v. Reznik, No. 07-cv-60493, 2007 WL 9710719, at *2 (S.D.

 Fla. Nov. 21, 2007) (citing Frehling Enters. v. Int’l Select Group, Inc., 192 F.3d 1330, 1335 (11th

 Cir. 1999)). Plaintiff’s evidence submitted herewith satisfies the requirements of 15 U.S.C. §

 1114.

         Plaintiff’s ownership and exclusive use of the Tesla Marks is presumed through their

 registration on the Principal Register of the United States Patent and Trademark Office. See

                                                     8
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 9 of 20




 Schedule B to Dorny Decl.; Vernon v. Ziel, No. 18-cv-24054, 2020 WL 4501802, at *4 (S.D. Fla.

 June 15, 2020) (citing 15 U.S.C. § 1115(a)). Plaintiff has been using the Tesla Marks well prior

 to the promotion and sale of Defendants’ Goods in the U.S. See Dorny Decl. at ¶ 11. Moreover,

 Defendants have never had the right or authority to use the Tesla Marks. Id.

          With respect to likelihood of confusion, the Eleventh Circuit has long used the following

 seven-factor test: (1) the strength of the mark; (2) the similarity of marks; (3) the similarity of the

 goods; (4) similarity of the sales methods; (5) the similarity of advertising media; (6) defendants’

 intent; and (7) evidence of actual confusion. See Ross Bicycles, Inc. v. Cycles USA, Inc., 765 F.2d

 1502, 1506 (11th Cir. 1985) (citing John H. Harland Co. v. Clarke Checks, Inc., 711 F.2d 966,

 972 (11th Cir. 1983)). The seven factors listed are to be weighed and balanced and no single factor

 is dispositive. Id.

                         a.      Strength of the marks

          The spectrum of protectability and strength for trademarks is divided into the following

 four designations: (1) coined, fanciful, or arbitrary; (2) suggestive; (3) descriptive; and (4) generic.

 See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768, 112 S. Ct. 2753, 120 L.Ed.2d 615

 (1992). Arbitrary or fanciful marks are the strongest and deemed inherently distinctive and entitled

 to protection. Id. Here, the asserted Tesla Marks are undisputedly strong, arbitrary, and fanciful

 marks.

          The Tesla Marks have also acquired secondary meaning. Plaintiff has expended substantial

 time, labor, skill, and expense in developing, advertising, and promoting the Tesla Marks. See

 Dorny Decl. at ¶¶ 5-10, 16. The Tesla Marks enjoy widespread recognition and is prominent in

 the minds of consumers. Id.




                                                    9
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 10 of 20




                        b.      Similarity of the marks

        “The likelihood of confusion is greater when an infringer uses the exact trademark.”

 Turner Greenberg Associates, Inc. v. C & C Imports, Inc., 320 F. Supp. 2d 1317, 1332 (S.D. Fla.

 2004) (citing United States Jaycees v. Philadelphia Jaycees, 639 F.2d 134, 142 (3d Cir. 1981)).

 Here, Defendants are using marks that are identical or nearly identical to the Tesla Marks. See

 Sobrado Decl. at ¶ 4; see also Fimab-Finanziaria Maglificio v. Helio Import/Export, Inc., 601 F.

 Supp. 1, 2 (S.D. Fla. 1983) (using “ocular test” of direct comparison and finding marks that are

 slightly modified from the copied registered marks are still considered counterfeit marks); 15

 U.S.C. § 1127 (defining “counterfeit” as “a spurious mark which is identical with, or substantially

 indistinguishable from, a registered mark”).

                        c.      Similarity of the goods

        “The greater the similarity between the products and services, the greater the likelihood of

 confusion.” John H. Harland Co., 711 F.2d at 976. Defendants are selling the same types of

 goods Plaintiff sells. See Dorny Decl. at ¶¶ 11-14; see evidence of Defendants’ Goods attached as

 Exhibit 1 to the Dorny Decl. Because Defendants’ Goods bear counterfeits of the Tesla Marks,

 Defendants’ Goods appear virtually identical to Plaintiff’s genuine products in the consumer

 market.

                        d.      Similarity of sales method and advertising method

        Convergent marketing channels increase the likelihood of confusion.              See Turner

 Greenberg Associates, Inc., 320 F. Supp. 2d at 1332. Both Plaintiff and Defendants sell and

 advertise their products using at least one of the same marketing channels, the Internet, in the same

 geographical distribution areas within the United States, including the Southern District of Florida.

 See Dorny Decl. at ¶¶ 6-8; Sobrado Decl. at ¶ 5. Thus, the conditions of purchase for both parties



                                                  10
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 11 of 20




 are unmistakably identical. Moreover, both target the same general U.S. consumers, and as such,

 Plaintiff is directly competing with Defendants’ products.

                        e.      Defendants’ intent

        This district has held that when an alleged infringer adopts a mark “with the intent of

 obtaining benefit from the Plaintiff’s business reputation, ‘this fact alone may be sufficient to

 justify the inference that there is confusing similarity.’” Turner Greenberg Associates, Inc., 320

 F. Supp. 2d at 1333 (citing Carnival Corp. v. Seaescape Casino Cruises, Inc., 74 F. Supp. 2d 1261,

 1268 (S.D. Fla. 1999)). Further, “[i]ntentional copying of another’s trademark is prima facie

 evidence both that the mark has a secondary meaning, and that the imitation is likely to confuse

 consumers.” See Playboy Ent., Inc. v. P.K. Sorren Export Co. Inc. of Florida, 546 F. Supp. 987,

 996 (S.D. Fla. 1982). In view of the substantial similarities between The Tesla Marks and

 Defendants’ Goods, there is no doubt that Defendants intentionally set out to copy The Tesla Marks

 in a manner that is likely to generate confusion on the part of potential consumers.

                        f.      Evidence of actual confusion

        Actual confusion is not a prerequisite to establishing a likelihood of confusion. See

 Frehling Enters., 192 F.3d 1330, 1340. In this case, however, it is reasonable to infer actual

 confusion exists in the marketplace based upon the circumstantial evidence available. Defendants

 are advertising, offering to sell, and selling counterfeit goods identical in appearance to those sold

 by Plaintiff. See Dorny Decl. at ¶¶ 11-14; see generally representative examples of Defendants’

 Goods attached as Exhibit 1 to the Dorny Decl. Even if buyers are told of the bogus nature of

 Defendants’ Goods, other consumers viewing Defendants’ Goods in a post-sale setting will

 obviously be confused, because they are viewing goods bearing the Tesla Marks which undeniably

 creates the impression they are viewing genuine goods sold or authorized by Plaintiff. Such post-



                                                  11
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 12 of 20




 sale confusion is entirely actionable. See Remcraft Lighting Products, Inc. v. Maxim Lighting,

 Inc., 706 F. Supp. 855, 859 (S.D. Fla. 1989) (“The likelihood of confusion need not occur at

 wholesale level when the end user will be confused.”).

        In sum, all seven factors therefore weigh in Plaintiff’s favor and therefore support a

 likelihood of success on the merits of Plaintiff’s counterfeit and trademark infringement claim.

                2.      Plaintiff’s false designation of origin claim under Section 43 of the
                        Lanham Act (Count II of the Complaint)

        As with a trademark infringement claim, the test for liability for false designation of origin

 under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), is also whether the public is likely

 to be deceived or confused by the similarity of the marks at issue. Two Pesos, Inc., 505 U.S. at

 780. Notwithstanding whether the violation is identified as an infringement, unfair competition,

 or false designation of origin, the determinative factor is a likelihood of consumer confusion. Id.

 Therefore, because Plaintiff has established the merits of their trademark counterfeiting and

 infringement claim against Defendants, a likelihood of success on the merits is also shown for

 Plaintiff’s false designation of origin claim.

                3.      Plaintiff’s common law unfair competition and common law trademark
                        infringement claims (Counts III and IV of the Complaint)

        Whether a defendant’s use of a plaintiff’s trademarks created a likelihood of confusion

 between the plaintiff’s and the defendant’s products is also the determining factor in the analysis

 of unfair competition under the common law of Florida.             See Planetary Motion, Inc. v.

 Techsplosion, Inc., 261 F.3d 1188, 1193 n.4 (11th Cir. 2001) (“Courts may use an analysis of

 federal infringement claims as a ‘measuring stick’ in evaluating the merits of state law claims.”).

 Additionally, the analysis of liability for Florida common law trademark infringement is the same

 as the analysis of liability for trademark infringement under Section 32(a) of the Lanham Act.



                                                  12
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 13 of 20




 PetMed Express, Inc. v. Medpets.com, 336 F. Supp. 2d 1213, 1217-18 (S.D. Fla. 2004). As

 discussed above, Plaintiff has satisfied the elements of its trademark counterfeiting and

 infringement claim against Defendants, establishing that a likelihood of confusion exists herein.

 Accordingly, Plaintiff is also likely to succeed on the merits of their common law unfair

 competition and trademark infringement claim.

        D.      Plaintiff is Suffering Irreparable Injury.

        The Lanham Act establishes a rebuttable presumption that trademark infringement causes

 irreparable injury for purposes of an injunction. See 15 U.S.C. § 1116(a). Further, the Eleventh

 Circuit has held as follows: “a sufficiently strong showing of likelihood of confusion [caused by

 trademark infringement] may by itself constitute a showing of … [a] substantial threat of

 irreparable harm.” Ferrellgas Ptnrs., L.P. v. Barrow, 143 Fed. Appx. 180, 191 (11th Cir. 2005)

 (citing McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1310 (11th Cir. 1998)). Such a finding of

 irreparable injury following a showing of likelihood of confusion is virtually always made in a

 case such as this, where a plaintiff has demonstrated it will lose control of its goodwill and

 reputation as a result of a defendant’s activities. Id. A likelihood of confusion exists herein

 because Defendants have engaged in counterfeiting and infringing activities using spurious

 designations that are virtually indistinguishable from the Tesla Marks.

        E.      The Balance of Hardship Tips Sharply in Plaintiff’s Favor.

        Plaintiff has expended substantial time, money, and other resources to develop the quality,

 reputation, and goodwill associated with the Tesla Marks. See Dorny Decl. at ¶¶ 6-10. Should

 Defendants be permitted to continue their trade in counterfeit goods, Plaintiff will suffer losses

 and damage to his reputation. Id. at ¶ 18. Defendants will therefore suffer no legitimate hardship

 in the event a temporary restraining order is issued because Defendants have no right to engage in



                                                 13
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 14 of 20




 their present counterfeiting and infringement activities.

        F.      The Relief Sought Serves the Public Interest.

        Defendants are engaged in illegal activities and are directly defrauding the consuming

 public by palming off Defendants’ Goods as Plaintiff’s genuine goods. The public has an interest

 in not being misled as to the origin, source, or sponsorship of trademarked products. See Nailtiques

 Cosmetic Corp. v. Salon Sciences, Corp., 1997 WL 244746, 5, 41 U.S.P.Q.2d 1995, 1999 (S.D.

 Fla. 1997) (“The interests of the public in not being victimized and misled are important

 considerations in determining the propriety of granting injunctive relief.”).

        Further, the public interest is protected by issuing an injunction because Plaintiff loses

 valuable incentives to continue to create programming and related merchandise if it continues to

 be deprived of (1) control over its content, (2) how and where the content gets distributed, and (3)

 potential revenue sources.

        G.      The Equitable Relief Sought is Appropriate.

        The Lanham Act authorizes courts to issue injunctive relief “according to principles of

 equity and upon such terms as the court may deem reasonable, to prevent the violation of any right

 of the registrant of a mark ….” 15 U.S.C. § 1116(a).

                1.      Entry of an order immediately enjoining Defendants’ unauthorized
                        and unlawful use of Plaintiff’s trademarks is appropriate.

        Plaintiff requests an order requiring Defendants immediately cease all use of the Tesla

 Marks, or substantially similar marks, including on or in connection with all e-commerce stores,

 domain names, and websites owned and operated, or controlled by them. Such relief is necessary

 to stop the ongoing harm to Plaintiff’s trademarks, goodwill, and to prevent Defendants from

 continuing to benefit from the increased consumer traffic to their illegal operations created by their




                                                  14
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 15 of 20




 unlawful use of the Tesla Marks. Many courts, including this Court, have authorized immediate

 injunctive relief in similar cases involving the unauthorized use of intellectual property rights.2

                2.      Entry of an order prohibiting transfer of the Seller IDs during the
                        pendency of this action is appropriate.

        To preserve the status quo, Plaintiff seeks an order temporarily modifying control of and

 prohibiting Defendants from transferring use or control of the Seller IDs being used and controlled

 by Defendants to other parties. Once they become aware of litigation against them, Defendants

 operating via the Internet can easily, and often will, change the ownership or modify e-commerce

 store account data and content, change payment accounts, redirect consumer traffic to other seller

 identification names, and transfer assets and ownership of the Seller IDs, and thereby thwart the

 Court’s ability to grant meaningful relief. See Sobrado Decl. at ¶ 7. Here, an interim order

 prohibiting Defendants from transferring their e-commerce stores and domain names operating

 under the Seller IDs poses no burden on them, preserves the status quo, and ensures that this Court,

 after fully hearing the merits of this action, will be able to afford Plaintiff full relief. Courts have

 granted this precise relief in this district and similar relief in actions where the relied upon

 instrumentalities of infringement and contact are e-commerce stores, domain names, and

 associated websites. See supra at n. 2.




        2
          See Adidas AG v. 2013jeremyscottxadidas.com, No. 13-cv-61867-ROSENBAUM, 2013
 WL 5306704 (S.D. Fla. Sept. 19, 2013); Mycoskie, LLC v. Individuals, P’ships & Unincorporated
 Ass’ns Identified on Schedule “A”, No. 19-cv-60518-BLOOM, 2019 WL 1206340 (S.D. Fla.
 March 14, 2019); Adidas AG v. Individuals, P’ships & Unincorporated Ass’ns Identified on
 Schedule “A”, No. 19-cv-60457-DIMITROULEAS, 2019 WL 1989208 (S.D. Fla. Feb. 25, 2019);
 Apple Corps Ltd. v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule “A”,
 No. 19-cv-60404-WILLIAMS, 2019 WL 1989221 (S.D. Fla. Feb. 20, 2019); Michael Kors, L.L.C.
 v. 0-66602, No. 18-cv-62775-GAYLES, 2018 WL 8223783 (S.D. Fla. Dec. 7, 2018); Gucci Am.,
 Inc. v. BGAADB, No. 18-cv-62227-UNGARO, 2018 WL 6261548 (S.D. Fla. Sept. 21, 2018);
 Cartier Int’l A.G. v. Replicapaneraiwatches.cn, No. 17-cv-62401-MOORE, 2018 WL 2006882
 (S.D. Fla. Jan. 2, 2018).
                                                   15
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 16 of 20




                3.      An ex parte order restraining transfer of assets is appropriate.

        In addition to an order temporarily restraining Defendants’ practices, the Court should enter

 an order limiting the transfer of Defendants’ unlawfully gained assets. Plaintiff has demonstrated

 above that he will likely succeed on the merits of his claims. As such, under the Lanham Act,

 Plaintiff will be entitled to an accounting and payment of the profits earned by Defendants

 throughout the course of their counterfeiting scheme. 15 U.S.C. § 1117. Due to the deceptive

 nature of the counterfeiting business, and Defendants’ deliberate violations of federal trademark

 laws, Plaintiff respectfully requests this Court grant additional ex parte relief identifying payment

 accounts and restraining the transfer of all monies held or received by the Financial Entities, or

 other financial institutions for the benefit of any one or more of the Defendants, and any other

 financial accounts tied thereto. See SEC v. ETS Payphones, 408 F.3d 727, 734-735 (11th Cir.

 2005) (finding it proper to enjoin all of the defendant’s assets, because it was necessary to preserve

 sufficient funds for the potential disgorgement in the case). Indeed, almost every Circuit Court,

 including the Eleventh Circuit, has interpreted Rule 65 of the Federal Rules of Civil Procedure to

 grant authority to courts to restrain assets pendente lite. See Mason Tenders Dist. Council Pension

 Fund v. Messera, No. 95-cv-9341, 1997 WL 223077, at *7 (S.D.N.Y. May 7, 1997)

 (acknowledging that “[a]lmost all the Circuit Courts have held that Rule 65 is available to freeze

 assets pendente lite under some set of circumstances”).

        In light of the illicit nature of the counterfeiting business, and the ability of counterfeiters

 to practically eliminate evidentiary trails by conducting their business entirely over the Internet,

 courts in the Eleventh Circuit, among others, have particularly noted the significance of such asset

 restraints in cases involving counterfeiting defendants. See, e.g. Levi Strauss & Co. v. Sunrise Int’l

 Trading, 51 F.3d 982 (11th Cir. 1995); Reebok Int’l Ltd. v. Marnatech Enter., 737 F. Supp. 1521



                                                  16
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 17 of 20




 (S.D. Cal. 1989), aff’d, 970 F.2d 552 (9th Cir. 1992). In Levi Strauss, the Eleventh Circuit upheld

 an order granting an asset restraint against an alleged counterfeiter where the Complaint included

 a request for a permanent injunction and the equitable remedy of disgorgement of the alleged

 counterfeiter’s profits under 15 U.S.C. § 1117. Levi Strauss & Co., 51 F.3d at 987. Distinguishing

 two earlier cases not involving Lanham Act claims, the Eleventh Circuit emphasized the necessity

 of the restraint holding that a “request for equitable relief invokes the district court’s inherent

 equitable powers to order preliminary relief, including an asset freeze, in order to assure the

 availability of permanent relief.” Id. (citing Federal Trade Commission v. United States Oil and

 Gas Corp., 748 F.2d 1431, 1433-34 (11th Cir.1984) (district court may exercise his full range of

 equitable powers, including a preliminary asset restraint, to ensure that permanent equitable relief

 will be possible)). This Court has held that it may issue broad asset restraints to preserve the

 availability of permanent relief, including assets that are not directly traceable to the fraudulent

 activity that serves as a basis for the equitable relief requested. See S.E.C. v. Lauer, 445 F. Supp.

 2d 1362, 1370 (S.D. Fla. 2006) (noting that there is no requirement for the restrained assets be

 traceable to the fraudulent activity underlying a lawsuit). Indeed, this Court has entered the precise

 relief sought herein in many cases similar to the matter at hand. See supra at n. 3.

        Other courts have likewise granted the relief requested herein. For example, in Reebok v.

 Marnatech the district court granted plaintiff a limited restraint of the defendants’ assets for the

 purpose of preserving those assets, thus ensuring the availability of a meaningful accounting after

 trial. Reebok Int’l Ltd., 737 F. Supp. at 1526. Affirming the district court’s order, the Ninth Circuit

 determined that the plaintiff met his burden of demonstrating that defendants might hide their

 allegedly ill-gotten profits if their assets were not frozen. Reebok Int’l Ltd., 970 F.2d 552, 563

 (9th Cir. 1992). The Ninth Circuit further held as follows: “because the Lanham Act authorizes



                                                   17
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 18 of 20




 the District Court to grant Reebok an accounting of [defendant’s] profits as a form of final

 equitable relief, the District Court has the inherent power to freeze [defendant’s] assets in order to

 ensure the availability of that final relief.” Id. at 559; see also Republic of Philippines v. Marcos,

 862 F.2d 1355, 1364 (9th Cir. 1988), cert. denied, 490 U.S. 1035 (1989) (“[a] court has the power

 to issue a preliminary injunction in order to prevent a defendant from dissipating assets in order to

 preserve the possibility of equitable remedies”); Kemp v. Peterson, 940 F.2d 110, 113-114 (4th

 Cir. 1991) (district court may restrain assets not specifically traced to illegal activity).

         Using the power to issue provisional remedies ancillary to their authority to provide final

 equitable relief, numerous courts have granted orders restraining defendants from transferring their

 assets under trademark infringement claims. See e.g., Levi Strauss & Co., 51 F.3d at 987; Reebok

 Int’l Ltd., 970 F.2d at 559. Moreover, to provide complete equitable relief, courts have granted

 such orders without providing notice to the defendants. Specifically, federal courts have held that

 where advance notice of an asset restraint is likely to cause a party to alienate the assets sought to

 be restrained, a temporary restraining order may be issued ex parte. See F.T. Int’l Ltd v. Mason,

 No. 00-cv-5004, 2000 WL 1514881, at n. 1 (E.D. Pa. Oct. 11, 2000) (granting ex parte TRO

 restraining defendants’ bank accounts upon finding that advance notice would likely have caused

 the defendants to secret or alienate funds); CSC Holdings, Inc. v. Greenleaf Elec., Inc., No. 99-cv-

 7249, 2000 WL 715601 (N.D. Ill. June 2, 2000) (granting ex parte TRO enjoining cable television

 pirates and restraining pirates’ assets).

         In this case, Defendants’ blatant violations of federal trademark laws warrant an ex parte

 order restraining the transfer of their ill-gotten assets. Moreover, as Defendants’ businesses are

 conducted anonymously over the Internet, Plaintiff has an additional cause for ex parte relief, as

 Defendants may easily secret or transfer their assets without the Court’s or Plaintiff’s knowledge.



                                                    18
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 19 of 20




        H.      Expedited Discovery is Appropriate

        The United States Supreme Court has held that “federal courts have the power to order, at

 their discretion, the discovery of facts necessary to ascertain their competency to entertain the

 merits.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380 (1978)). Courts

 have wide latitude in determining whether to grant a party's request for discovery. Id. (citation

 omitted). Further, courts have broad power over discovery and may permit discovery in order to

 aid in the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2). Plaintiff respectfully

 requests expedited discovery to discover the bank and payment service accounts Defendants use

 for their unlawful counterfeiting operations. The expedited discovery requested in the proposed

 order is limited to include only what is essential to prevent further irreparable harm. Discovery of

 these financial accounts so that they can be frozen is necessary to ensure these activities can be

 contained. Without being able to discover Defendants’ bank and payment system accounts, any

 asset restraint would be of limited value because Plaintiff would not know the entities upon whom

 to serve the order.

        Plaintiff’s undersigned counsel is aware that the third-party marketplaces and payment

 services contemplated in the proposed order have cooperated with trademark owners in prior cases

 under similar circumstances and are accustomed to doing so as party of their business operations.

 These third parties can comply with these expedited discovery requests without undue burden.

        I.      A Bond Should Secure the Injunction.

        Because of the strong and unequivocal nature of Plaintiff’s evidence of counterfeiting and

 infringement, Plaintiff respectfully requests this Court require them to post a bond of no more than

 ten thousand dollars ($10,000.00), subject to increase at the Court’s discretion should an

 application be made in the interest of justice. The posting of security upon issuance of a



                                                  19
Case 1:24-cv-21300-JB Document 8 Entered on FLSD Docket 04/11/2024 Page 20 of 20




 temporary or preliminary injunction is vested in the Court’s sound discretion. Fed. R. Civ. P.

 65(c).

 IV.      CONCLUSION

          In view of the foregoing, Plaintiff respectfully requests this Court grant its ex parte

 application and enter a temporary restraining order as to Defendants in the form submitted

 herewith and schedule a hearing on Plaintiff’s Motion for a Preliminary Injunction before the

 expiration of the temporary restraining order. Additionally, due to the time provisions of a

 temporary restraining order, in the event the application is granted, Plaintiff respectfully requests

 the Court provide a copy of the temporary restraining order to Plaintiff’s counsel via e-mail at

 jsobrado@brickellip.com so that Plaintiff may immediately effectuate any relief ordered therein

 and provide Defendants’ proper notice of the order and any subsequent hearing date.

 Date: April 11, 2024                          Respectfully submitted by,

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